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                                     November 9, 2023


Via CM/ECF
Lyle W. Cayce
Clerk of Court
U.S. Court of Appeals for the Fifth Circuit
F. Edward Hebert Building
600 S. Maestri Place
New Orleans, LA 70130-3408
       Re:     Louisiana v. Haaland, No. 23-30666
Dear Mr. Cayce:
        Appellees submit this letter to inform the Court of a recent decision by the National
Marine Fisheries Service (NMFS) that reinforces the unlawfulness of the actions taken by
the Bureau of Ocean Energy Management (BOEM) here. On May 11, 2021, various
environmental NGOs—including one Intervenor here—submitted a petition asking NMFS
to impose a host of restrictions on all vessels transiting through the Rice’s whale’s core
area in the northeastern Gulf of Mexico: “a year-round 10-knot vessel speed restriction”;
“no vessel transits at night”; “vessels transiting through the zone must report their plans to
NMFS, utilize visual observers, and maintain a separation distance of 500 m from Rice’s
whales”; “use and operate an Automatic Identification System, or notify NMFS of transits
through the zone”; and “report deviations from these requirements to NMFS.” 88 Fed Reg.
20,846, 20,847 (Apr. 7, 2023). According to the NGOs, such restrictions “are necessary
for the conservation and recovery of Rice’s whales.” Id.
        Between April 7 and July 6, 2023, NMFS invited comment on the petition,
ultimately receiving over 75,000 comments. See Ex. A. On October 27, 2023, after
reviewing those comments, NMFS denied the petition, disagreeing with the NGOs’ theory
that these restrictions are necessary. Id.
        NMFS’ decision underscores that BOEM’s actions here are arbitrary and capricious
and procedurally improper. Here, BOEM would impose comparable restrictions on oil-
and-gas vessels (and those vessels alone) far outside the whale’s core area, see ROA.2437-
38—all after recently announcing that there is no proof that the whale exists in that area or
that oil-and-gas activity has ever caused the whale any harm there, see Appellees Br. 35-
43. And BOEM took that last-minute action without providing any prior notice or comment
period, even though the agency had a legal obligation to do so. See Appellees Br. 24-35.
Simply put, NMFS’ action shows the value of notice-and-comment and the costs of
omitting it here, as well as the lack of justification for singling out oil-and-gas vessels
outside of the whale’s core habitat for restrictions rejected in the heartland of that habitat.

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Mr. Lyle W. Cayce
Clerk of Court
November 9, 2023
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                                            Respectfully submitted,

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cc:    All counsel of record (via CM/ECF)



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                 EXHIBIT A
11/9/23, 1:21 PM         Case:  23-30666
                         NOAA Fisheries             Document:
                                        Denies Petition to Establish a 138
                                                                       MandatoryPage:   4 andDate
                                                                                 Speed Limit        Filed: 11/09/2023
                                                                                              Other Vessel-Related Mitigation Measures to Protect E…




      NOAA Fisheries Denies Petition to
      Establish a Mandatory Speed Limit
      and Other Vessel-Related Mitigation
      Measures to Protect Endangered
      Rice’s Whales in the Gulf of Mexico
      October 27, 2023

      FB23-079: Gulf of Mexico Fishery Bulletin; For more information, contact: Clay
      George, 912-766-0087, clay.george@noaa.gov




      Key Messages:

                   NOAA Fisheries denied a petition from several non-government organizations to
                   establish a mandatory 10-knot speed limit and other vessel related mitigation measures
                   to protect endangered Rice’s whales in the Gulf of Mexico and will not proceed with
                   rulemaking at this time.
                   We have concluded that fundamental conservation tasks, including finalizing the critical
                   habitat designation, drafting a species recovery plan, and conducting a quantitative
                   vessel risk assessment, are all needed before we consider vessel regulations.
                   NOAA Fisheries requested public comment on the petition from April 7 to July 6, 2023,
                   and we received approximately 75,500 comments.
                   With likely fewer than 100 individuals remaining, Rice’s whales are protected under the
                   Marine Mammal Protection Act (MMPA) and are listed as endangered under the
                   Endangered Species Act (ESA).




      Frequently Asked Questions (FAQs)
https://www.fisheries.noaa.gov/bulletin/noaa-fisheries-denies-petition-establish-mandatory-speed-limit-and-other-vessel                          1/4
11/9/23, 1:21 PM         Case:  23-30666
                         NOAA Fisheries             Document:
                                        Denies Petition to Establish a 138
                                                                       MandatoryPage:   5 andDate
                                                                                 Speed Limit        Filed: 11/09/2023
                                                                                              Other Vessel-Related Mitigation Measures to Protect E…




      Why did NOAA Fisheries deny the petition and what’s next?

                   We are denying the petition because we are prioritizing other conservation actions for
                   Rice’s whales: finalizing critical habitat for the species, conducting additional vessel risk
                   assessments, and developing a recovery plan for the species.
                   Recovery planning will allow us to holistically consider and prioritize future actions. The
                   process allows the agency to evaluate the species’ needs, set goals for recovery, and
                   outline the path and tasks required to restore and secure a self-sustaining wild
                   population.
                   Recovery plans are non-regulatory documents that describe, justify, and schedule the
                   research and management actions necessary to support recovery of a
                   species. Consequently, this process is critically important to determine the next steps
                   towards recovery of the Rice’s whale.
                   We also agree with the commenters who stated that education and outreach should
                   occur with fishermen, vessel operators, and other stakeholders to discuss voluntary
                   protection measures, before considering regulatory measures.



      What does a denial of the petition mean?

                   It means NOAA Fisheries is not proceeding with rulemaking to develop vessel speed
                   restrictions or other vessel-related regulations for Rice’s whales at this time.



      What actions has NOAA Fisheries completed to date to support Rice’s whale recovery?

                   NOAA Fisheries has completed a number of conservation and recovery actions,
                   including listing the Rice’s whale as endangered under the ESA, completing a recovery
                   outline for the species, conducting a virtual recovery workshop, and publishing a
                   proposed rule to designate critical habitat for the species under the ESA.
                   NOAA Fisheries scientists and partners have conducted studies on Rice’s whale
                   biology, distribution, habitat use, and threats.



      What additional conservation and recovery actions is NOAA Fisheries undertaking?

                   NOAA Fisheries is undertaking additional conservation and recovery actions, including
                   finalizing the critical habitat designation for Rice’s whales, developing a draft Rice’s
                   whale recovery plan, implementing Deepwater Horizon restoration projects, conducting



https://www.fisheries.noaa.gov/bulletin/noaa-fisheries-denies-petition-establish-mandatory-speed-limit-and-other-vessel                          2/4
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                         NOAA Fisheries             Document:
                                        Denies Petition to Establish a 138
                                                                       MandatoryPage:   6 andDate
                                                                                 Speed Limit        Filed: 11/09/2023
                                                                                              Other Vessel-Related Mitigation Measures to Protect E…

                   additional vessel risk assessments, and developing conservation measures during the
                   ESA section 7 consultation process with other Federal agencies.



      Where can I find more information on this petition?

                   More information about the petition may be found online at the NOAA Fisheries
                   Southeast Regional Office web site at: https://www.fisheries.noaa.gov/action/request-
                   public-comments-petition-establish-vessel-speed-measures-protect-rices-whale
                   Or, by contacting NOAA Fisheries, Southeast Regional Office



      By Mail: Clay George

      NOAA Fisheries, Southeast Regional Office

      Protected Resources Division

      263 13th Avenue South

      St. Petersburg, Florida 33701-5505

      By FAX: (727) 824-5308

      By Phone: (912) 766-0087




      SIGN UP FOR TEXT MESSAGE ALERTS - FIND OUT ABOUT IMMEDIATE
      OPENINGS AND CLOSURES
      NOAA's Text Message Alert Program allows you to receive important fishery related alerts via
      text message (SMS). Standard message & data rates may apply. You may opt-out at any time.

      Text alerts you may receive include:

                   Immediate fishery openings and closures
                   Any significant changes to fishing regulations that happen quickly

      Sign up for one or more of the following groups:

                   Gulf of Mexico Recreational Fisheries Related Alerts
                                Text GULFRECFISH to 888777
                   Gulf of Mexico Commercial Fisheries Related Alerts
                                Text GULFCOMMFISH to 888777
                   South Atlantic Recreational Fisheries Related Alerts

https://www.fisheries.noaa.gov/bulletin/noaa-fisheries-denies-petition-establish-mandatory-speed-limit-and-other-vessel                          3/4
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                                                                                              Other Vessel-Related Mitigation Measures to Protect E…

                                Text SATLRECFISH to 888777
                   South Atlantic Commercial Fisheries Related Alerts
                                Text SATLCOMMFISH to 888777
                   Caribbean Fisheries Related Alerts
                                Text CARIBFISH to 888777

      Quick Glance Contact List for the NOAA Fisheries Southeast Regional Office

      Permits Mailbox: The Permits Office in St. Petersburg, FL now has a Permits mailbox in the
      front lobby (263 13th Ave. South, St. Petersburg, FL 33701). You can now drop off original
      permits for permit transfers. Envelopes with information labels will be provided so that your
      documents can be attached to the correct application. The mailbox will be checked daily. For
      more information contact the Permits Office at 877-376-4877.

      Other contacts:

      Media Contact: Allison Garrett, 727-551-5750

      Recreational Fishing Coordinator: Sean Meehan, 727-385-5202

      Last updated by Southeast Regional Office on October 27, 2023




https://www.fisheries.noaa.gov/bulletin/noaa-fisheries-denies-petition-establish-mandatory-speed-limit-and-other-vessel                          4/4
